Case 9:19-cv-80663-RLR Document 3 Entered on FLSD Docket 05/20/2019 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.:         19CV80663-RLR
 YULIAM L. RODRIGUEZ,

                 Plaintiff,
 v.

 EXECUTIVE NON-EMERGENCY
 TRANSPORTATION, INC.,
 GEORGE A. RICARDO,

             Defendants.
 __________________________________/

                                 SUMMONS IN A CIVIL ACTION

 TO:               Defendant:           Executive Non-Emergency Transportation, Inc.
                   Registered Agent:    George A. Ricardo
                                        3155 Suntree Blvd #102
                                        Rockledge, FL 32940

         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it)
 — or 60 days if you are the United States or a United States agency, or an officer or employee of
 the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an
 answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
 Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
 name and address are:

                  Elliot Kozolchyk, Esquire
                                                       Phone: (786) 924-9929
                  Koz Law, P.A.
                                                       Fax:   (786) 358-6071
                  320 S.E. 9th Street
                                                       Email: ekoz@kozlawfirm.com
                  Fort Lauderdale, Florida 33316

      If you fail to respond, judgment by default will be entered against you for the relief
 demanded in the complaint. You also must file your answer or motion with the court.


 Date:      May 20, 2019


                                                                                s/ Esperanza Buchhorst


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